     Case 4:17-cr-06030-EFS              ECF No. 78        filed 03/04/24        PageID.288         Page 1 of 2
 PROB 12C                                                                            Report Date: February 27, 2024
(6/16)

                                         United States District Court                             FILED IN THE
                                                                                              U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                         Mar 04, 2024
                                         Eastern District of Washington                      SEAN F. MCAVOY, CLERK



                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Christopher Adam Renfroe                 Case Number: 0980 4:17CR06030-EFS-1
 Address of Offender:                        West Richland, Washington 99353
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: July 10, 2018
 Original Offense:        Felon in Possession of a Firearm, 18 U.S.C. §§ 922(g)(1) and 924(a)(2)
 Original Sentence:       Prison - 55 months;               Type of Supervision: Supervised Release
                          TSR - 3 years
 Asst. U.S. Attorney:     Laurel Holland                    Date Supervision Commenced: July 23, 2021
 Defense Attorney:        Paul Shelton                      Date Supervision Expires: July 22, 2024


                                           PETITIONING THE COURT

To incorporate the violation contained in this petition in future proceedings with the violations previously reported
to the Court on October 13, and December 27, 2023.

On July 23, 2021, Mr. Renfroe began his term of supervised release. On July 29, 2021, a U.S. probation officer
reviewed with Mr. Renfroe all of the conditions of supervision. Mr. Renfroe signed a copy of his conditions.

The probation officer believes that the offender has violated the following conditions of supervision:
Violation Number        Nature of Noncompliance

            7           Mandatory Condition #2: You must not unlawfully possess a controlled substance. You
                        must refrain from any unlawful use of a controlled substance, including marijuana, which
                        remains illegal under federal law.

                        Supporting Evidence: Christopher Adam Renfroe is considered to be in violation of his
                        term of supervised release by having used controlled substances, marijuana, on or before
                        February 5, 2024.

                        On February 6, 2024, Mr. Renfroe reported to the probation office as required. During this
                        office contact, Mr. Renfroe completed a drug test which was presumptive positive for
                        marijuana. Mr. Renfroe admitted to having used marijuana on February 5, 2024. He signed
                        a drug use admission form for this substance. Confirmation was received from the national
                        laboratory confirming his drug test on February 6, 2024, was positive for marijuana.
Case 4:17-cr-06030-EFS   ECF No. 78   filed 03/04/24   PageID.289   Page 2 of 2
